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       Exhibit “3”
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                                                     Total Compensation And Expenses Requested;
                                                           Any Amounts Previously Requested;
                                                And Total Compensation And Expenses Previously Awarded


       Name                    Specialty         Amount Previously            Hold Back              Hours Billed             Fees             Hold Back         Expenses
                                                    Awarded                   Amount1                 (2nd App.)              nd
                                                                                                                            (2 App.)            Amount          (2nd App.)2
                                                                                                                                               (2nd App.)
   Receiver and
Genovese Joblove &          General Counsel          $426,064.18              $105,272.46              1,814.80            $412,985.88        $103,246.47        $6,712.51
     Battista
                           Special Counsel to
    Collas Crill              Receiver in            $193,907.70               $48,476.92               223.11             $94,713.76          $23,678.44              --
                            Cayman Islands
                               Forensic
  Yip Associates                                      $17,946.40               $4,486.60                344.30             $62,128.80          $15,532.20             $5.80
                              Accountants

                           Financial Adviser
   Development
                           and Restructuring         $118,064.51               $29,497.64               586.40             $189,086.88         $47,271.72        $2,457.02
  Specialists, Inc.
                              Consultants

     Rehmann              Tax and Consulting          $28,655.20               $7,163.80                 238.9             $46,120.32          $11,530.08              --

                            Electronic Data
   Ehounds, Inc.                                      $20,342.40               $5,085.60                   --               $7,794.36           $1,948.56              --
                             Management




      1
          The total amount of fees and expenses approved by the Court is the sum of the Amount Previously Awarded and the Hold Back Amount.
      2
       The total amount of fees and expenses sought to be approved by the Court in this Application Period is the sum of the Fees (2nd App.), Hold Back Amount (2nd
      App.), and Expenses (2nd App.) columns.
